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                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                      For rules and forms visit
Clerk of Court                                                                      www.ca11.uscourts.gov


                                        December 20, 2022

Clerk - Middle District of Georgia
U.S. District Court
201 W BROAD AVE
ALBANY, GA 31701

Appeal Number: 22-11826-HH
Case Style: Crandall Postell v. Crisp County School District, et al
District Court Docket No: 1:17-cv-00109-LAG

The referenced appeal was dismissed.

Appellee's brief is due 30 days from the date of this letter.

The parties have 14 days from the date of this order to file a notice with the Clerk specifying
which motions mooted by the dismissal of this appeal, if any, are to be renewed. The time for
filing a response to any renewed motion runs from the date the opposing party's notice is
docketed. Parties seeking to renew a motion after the 14-day renewal period expires will be
required to refile the motion.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Christopher Bergquist, HH
Phone #: 404-335-6169

                                                                REINST-1 Court Order Reinstatement
